                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION
                                                                 FILED I OP N COURT
                             CASE NO. 5:18-CR-451-lD(l)
                             CASE NO. 5: 18-CR-451-2D(l)         ON_u..µ~L..-f..-1,,1,,,+"-~':"""
                                                                     Pe r A. Moore, Jr., Clerk
                                                                     US District Court
                                                                     E· stem District of NC
UNITED STATES OF AMERICA                     )
                                             )
      V.                                     )      SUPERSEDING INDICTMENT
                                             )
JONATHAN LYNN JENKINS                        )
    a/k/a "Max"                              )
                                             )
ANTOINE LAMAR WALLACE                        )
    a/k/a "Tweezy"                           )


The Grand Jury charges:

                                   COUNT ONE

      Beginning in or about November 2014 and continuing to on or about October

20, 2015, in the Eastern District of North Carolina, the defendants, JONATHAN

LYNN JENKINS a/k/a "Max" and ANTOINE LAMAR WALLACE a/k/a "Tweezy,"

together with others known and unknown to the Grand Jury, did knowingly and

intentionally conspire to:

      (a) recruit, entice, harbor, transport, provide, obtain, and maintain by any

means, and benefit financially and receive anything of value from participation in a

venture which recruited, enticed, harbored, transported, provided, obtained, and

maintained, one or more persons known to the Grand Jury, in and affecting interstate

commerce, knowing and in reckless disregard of the fact that means of force , threats

of force, fraud and coercion would be used to cause such persons to engage in one or




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more commercial sex acts, in violation of Title 18, United States Code, Sections

1591(a) and (b)(l);

      (b) recruit, entice, harbor, transport, provide, obtain, and maintain by any

means, in and affecting interstate and foreign commerce, one or more persons known

to the Grand Jury, who had not attained the age of 18 years, and having had a

reasonable opportunity to observe such persons, and knowing and in reckless

disregard of the fact that such persons had not attained the age of 18 years, and would

be caused to engage in a commercial sex act, in violation of Title 18, United States

Code, Sections 1591(a) and (b)(2).

      All in violation of Title 18, United States Code, Section 1594(c).

                                     COUNT1WO

      Beginning in or about November 2014 and continuing to on or about October

20, 2015, in the Eastern District of North Carolina, the defendants, JONATHAN

LYNN JENKINS a/k/a "Max" and ANTOINE LAMAR WALLACE a/k/a "Tweezy,"

aiding and abetting each other, in and affecting interstate and foreign commerce,

knowingly recruited, enticed, harbored, transported, provided, obtained, and

maintained by any means, and benefitted financially and received anything of value

from participation in a venture which recruited, enticed, harbored, transported,

provided, obtained, and maintained, a person having the initials B.H., who had not

attained the age of 18 years, knowing and in reckless disregard of the fact that means

of force , threats of force, fraud, coercion, and any combination of such means would

be used to cause B.H . to engage in a commercial sex act, and having had a reasonable



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opportunity to observe B.H., and knowing and in reckless disregard of the fact that

B.H. had not attained the age of 18 years, and would be caused to engage in a

commercial sex act, in violation of Title 18, United States Code, Sections 159l(a), (b),

and 2.

                                   COUNT THREE

         Beginning in or about January 2015 and continuing to on or about February 8,

2015, in the Eastern District of North Carolina, the defendants, JONATHAN LYNN

JENKINS a/k/a "Max" and ANTOINE LAMAR WALLACE a/k/a "Tweezy," aiding and

abetting each other, in and affecting interstate and foreign commerce, knowingly

recruited, enticed, harbored, transported, provided, obtained, and maintained by any

means, and benefitted financially and received anything of value from participation

in a venture which recruited, enticed, harbored, transported, provided, obtained, and

maintained, a person having the initials M.J., who had not attained the age of 18

years, and having had a reasonable opportunity to observe M.J. , and knowing and in

reckless disregard of the fact that M.J. had not attained the age of 18 years, and

would be caused to engage in a commercial sex act, in violation of Title 18, United

States Code, Sections 1591(a), (b)(2), and 2.

                                   COUNT FOUR

         Beginning in or about November 2014 and continuing to on or about October

20, 2015, in the Eastern District of North Carolina, the defendants, JONATHAN

LYNN JENKINS a/k/a "Max" and ANTOINE LAMAR WALLA CE a/k/a "Tweezy,"

aiding and abetting each other, knowingly traveled and used a facility in interstate



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commerce, namely, the Internet, with the intent to promote, manage, establish, carry

on, and facilitate the promotion, management, establishment, and carrying on of an

unlawful activity, that is, a business enterprise involving prostitution offenses in

violation of the laws of North Carolina, and thereafter, performed and attempted to

perform an act to promote, manage, establish, carry on, and facilitate the promotion,

management, establishment, and carrying on of such unlawful activity, in violation

of Title 18, United States Code, Sections 1952(a)(3) and 2.

                                   COUNT FIVE

      On or about January 19, 2016, in the Eastern District of North Carolina, the

defendant JONATHAN LYNN JENKINS a/k/a "Max," knowing he had previously

been convicted of a crime punishable by imprisonment for a term exceeding one year,

did knowingly possess a firearm , and the firearm was in an affecting commerce, in

violation of Title 18, United States Code, Sections 922(g)(l) and 924.




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                                    FORFEITURE

       Upon conviction of the offenses in violation of Title 18, United States Code,

Sections 1591 and 1594 (Counts One, Two, and Three), the defendants shall forfeit to

the United States, pursuant to Title 18, United States Code, Section 1594(d), all their

right, title, and interest in:

       1.      Any property, real or personal, that was used or intended to be used to

commit or to facilitate the commission of such violation; and

       2.      Any property, real or personal, constituting or derived from, any

proceeds that such person obtained, directly or indirectly, as a result of such violation.

       Upon conviction of the offense in violation of Title 18, United States Code,

Section 1952 (Count Four), the defendants shall forfeit to the United States, pursuant

to Title 18, United States Code, Section 981(a)(l)(C) (as made applicable by Title 28,

United States Code, Section 2461(c)), all his right, title, and interest in any property,

real or personal, which constitutes or is derived from proceeds traceable to the

offense.

       Upon conviction of the firearm offense set forth in Count Five of this

Indictment, the defendant shall forfeit to the United States, pursuant to Title 18,

United States Code, Section 924(d)(l), as made applicable by Title 28, United States

Code, Section 2461(c), any and all firearms or ammunition involved in or used in a

knowing commission of the offenses. The property to be forfeited shall include, but

not be limited to a Mossberg 12-gauge shotgun, Model 535, serial number AT038550,

and ammunition.



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        The property to be forfeited shall include, but not be limited to a Mossberg 12-

gauge shotgun, Model 535, serial number AT038550, and any and all ammunition.

        If any of the above-described forfeitable property, as a result of any act or

omission of a defendant --

     (1) cannot be located upon the exercise of due diligence;

     (2) has been transferred or sold to, or deposited with, a third party;

     (3) has been placed beyond the jurisdiction of the court;

     (4) has been substantially diminished in value; or

     (5) has been commingled with other property which cannot be divided without

           difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of

the forfeitable property described above.

                                                   TRUE BILL--...




                                                 Date:    II . (# • I   er

ROBERT J. HIGDON J
Unit S


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